Case 7:12-cr-00005-P       Document 1000          Filed 07/16/13     Page 1 of 1     PageID 4059



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION



 UNITED STATES OF AMERICA                     §
                                              §
 V                                            §              NO: 7:12-CR-005-O
                                              §
 DEWEY WELLS                   (29)           §



                ORDER ACCEPTING REPORT AND RECOMMENDATION
                   OF THE UNITED STATES MAGISTRATE JUDGE
                         CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a

 Plea of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning

 Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

 within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

 District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge

 concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the

 Court accepts the plea of guilty, and DEWEY WELLS is hereby adjudged guilty. Sentence will

 be imposed in accordance with the Court's scheduling order.



        SIGNED this 16th day of July, 2013.

                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE
